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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
__________________________________________________________________________

ROWVAUGHN WELLS,

       Plaintiff,

v.                                                       Case No. 2:23-cv-02224-MSN-atc
                                                         JURY DEMAND

THE CITY OF MEMPHIS, et al.,

      Defendants.
______________________________________________________________________________

                         ORDER REFERRING MOTION
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       Before the Court is the Defendant City of Memphis’ Motion for Protective Order (ECF No.

422, “Motion”), filed June 2, 2025. This Motion is hereby REFERRED to the United States

Magistrate Judge Annie T. Christoff for determination or for proposed findings and

recommendation, as appropriate.

       IT IS SO ORDERED, this 3rd day of June, 2025.


                                                  s/ Mark S. Norris
                                                  MARK S. NORRIS
                                                  UNITED STATES DISTRICT JUDGE
